           Case 1:11-vv-00771-UNJ Document 47 Filed 08/08/14 Page 1 of 2




      In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                         No. 11-771V
                                     Filed: July 18, 2014


*****************************                         UNPUBLISHED
DONNA BARKAS, as Personal Representative of *
the Estate of BRIAN BARKAS, deceased,       *
                                            *         Special Master
                                            *         Hamilton-Fieldman
                                            *
                      Petitioner,           *         Petitioner’s Motion to Dismiss Petition;
v.                                          *         Insufficient Proof of Causation; Vaccine Act
                                            *         Entitlement; Denial Without Hearing.
SECRETARY OF HEALTH                         *
AND HUMAN SERVICES,                         *
                                            *
                      Respondent.           *
*****************************

F. John Caldwell, Jr., Maglio, Christopher & Toale, Sarasota, FL, for Petitioner.
Melonie J. McCall, United States Department of Justice, Washington, DC, for Respondent.

                                           DECISION1

        On November 15, 2011, Brian Barkas filed a petition for compensation under the
National Vaccine Injury Compensation Program (“the Program”), 42 U.S.C. §300aa-10, et seq.
(2006), 2 alleging that he suffered from transverse myelitis as a result of receiving the influenza
vaccination on August 31, 2010. Petition (“Pet.”) at 2, ECF No. 1. The information in the
record does not show entitlement to an award under the Program.



       1
          The undersigned intends to post this unpublished decision on the United States Court of
Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107
347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As
provided by Vaccine Rule 18(b), each party has 14 days within which to file a motion for
redaction “of any information furnished by that party (1) that is trade secret or commercial or
financial information and is privileged or confidential, or (2) that are medical files and similar
files the disclosure of which would constitute a clearly unwarranted invasion of privacy.” In the
absence of such motion, the entire decision will be available to the public. Id.
       2
        The National Vaccine Injury Compensation Program comprises Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-10 et seq. (2006).


                                                  1
         Case 1:11-vv-00771-UNJ Document 47 Filed 08/08/14 Page 2 of 2



        On July 17, 2014, the undersigned granted Petitioner’s Motion to Recaption Case since
Petitioner had passed away intestate and with no assets. Petitioner’s spouse was therefore
substituted as Petitioner in this case. Motion, ECF No. 41; Order, ECF No. 42. On July 18,
2014, Petitioner moved for a Final Decision on the Record, acknowledging that an expert report
would not be filed in this case.

        To receive compensation under the Program, Petitioner must prove either 1) that the
injured party suffered a “Table Injury”-i.e., an injury falling within the Vaccine Injury Table-
corresponding to vaccination, or 2) that the injured party suffered an injury that was actually
caused by a vaccine. See §§ 13 (a)(1)(A) and 11(c)(1). An examination of the record did not
uncover any evidence that Brian Barkas suffered a “Table Injury.” Further, the record does not
contain persuasive evidence indicating that Mr. Barkas’s alleged injury was vaccine-caused.

        Under the Act, a petitioner may not be given a Program award based solely on the
petitioner’s claims alone. Rather, the petition must be supported by either medical records or by
the opinion of a competent physician. § 13(a)(1). In this case, because there are insufficient
medical records supporting Petitioner’s claim, a medical opinion must be offered in support.
Petitioner, however, has offered no such opinion.

        Accordingly, it is clear from the record in this case that Petitioner has failed to
demonstrate either that Mr. Barkas suffered a “Table Injury” or that Mr. Barkas’s injuries were
“actually caused” by a vaccination. Thus, this case is dismissed for insufficient proof. The
Clerk shall enter judgment accordingly.


IT IS SO ORDERED.



                                                            /s/ Lisa D. Hamilton-Fieldman
                                                            Lisa D. Hamilton-Fieldman
                                                            Special Master




                                                2
